                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                        CIVIL ACTION NO. 3:20-CV-00549-GCM
 RAPIDCOURT, LLC,

                 Plaintiff,

    v.                                                               ORDER

 RLI INSURANCE COMPANY,

                 Defendant.


         THIS MATTER IS BEFORE THE COURT on the Motion for Admission Pro Hac Vice

(“Motion”) concerning Joseph A. Bailey III (Doc. No. 6).


         Upon review and consideration of the Motion, which was accompanied by submission of

the necessary fees, the Court hereby GRANTS the Motion.


         In accordance with Local Rule 83.1(b), Mr. Bailey is admitted to appear before this court

pro hac vice on behalf of Defendant RLI Insurance Company.


         IT IS SO ORDERED.


                                          Signed: October 20, 2020




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